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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

BRENT A. CARTER,                                     §
     Plaintiff,                                      §
                                                     §
v.                                                   §       CIVIL ACTION NO. B-09-CV-99
                                                     §
WESTPORT INSURANCE CORPORATION;                      §
and MICHAEL N. SWETNAM, JR., d/b/a                   §
SWETNAM INSURANCE SERVICES                           §
      Defendants.                                    §
_______________________________________              §


                                          JUDGMENT

       This Court has reviewed Defendant’s latest Motion for Summary Judgment, [Doc. No.

61], and Plaintiff’s Response, [Doc. No. 62].

       In its Memorandum Opinion and Order dated October 23, 2013, [“October 23rd

Opinion”] [Doc. No. 59], this Court concluded that there was no duty to defend or indemnify the

Plaintiff (“Carter”) for any claim emanating from either the Fourth or Fifth Amended Petitions

filed by Valley Baptist Health Systems (“Valley Baptist”) in the underlying suit. The Court

requested that the Parties file additional briefings to identify the existence of and/or address any

remaining issues, given the Court’s October 23rd Opinion.

       In drafting that Opinion, the Court had been misinformed as to the date of the settlement

agreement reached between Carter and Valley Baptist.          The Court cited the settlement as

occurring on December 8, 2011, the day after Valley Baptist filed its Sixth Amended Petition on

December 7, 2011. [Doc. No. 59 at 6]. The Parties agree that the settlement occurred on

December 6, 2011. Thus, Carter and Valley Baptist settled all claims against Carter before
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Valley Baptist filed the Sixth Amended Petition. Carter does not dispute that the Fifth Amended

Petition was the operative petition at the time of settlement. [See Doc. No. 62 at 3]. The Court’s

finding in favor of the Defendant (“Westport”) is therefore not affected by the existence of the

Sixth Amended Petition. That being the case, the Court finds no other issues necessary to

resolve this case.

       As for Westport’s requested additional relief in its latest Motion for Summary Judgment,

[Doc. No. 61], while the Court sees the reason for Westport’s request, the Court does not find it

necessary to rule on these grounds in addition to those specified in the October 23rd Opinion in

order to resolve the case. At best, Westport is just asking this Court for suspenders to go with

the belt the Court has already awarded.

       Therefore, in accordance with Federal Rules of Civil Procedure 54 and 58, and based

upon this Court’s prior orders, the Court enters this final judgment and orders that Plaintiff,

Brent A. Carter, take nothing as to the claims asserted against Defendant, Westport Insurance

Corporation. All costs of court are assessed against the Plaintiff.




       Signed this 22nd day of January, 2014.




                                                             ______________________________
                                                             Andrew S. Hanen
                                                             United States District Judge
